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                   1111
From: Annette-Evon Jeter:Sipple Federally protected consumer
C/0 PO BOX 67711
AT TOPEKA, KANSAS REPUBLIC




                           Judicial Notice of Liability: Attorney no Authority




To: William H, Meyer# 18142
SouthLaw, P.C. it's assigns, Heirs and/or attorneys in this office.                               This Notice
is written in regular English and notice to agent is notice to principal


Due to the fact that Annette: Evon Jeter-Sipple, has no Ideal who is attempting to interfere with the
business between Annette and the other party of interest, and that no legal fiction can make any orders or
sign any judgments, or even speak substantiates fraud. So, because the attorney listed with this legal
fiction called William H, Meyer #18142., this notice is addressed to all of you at this firm in the event
South Law P.C. would pass on to one of his heirs or assigns, all of you will be held personally responsible
for any damages or liabilities to the estate. (ANNETTE EVON JETER SIPPLE ESTATE) Your membership
number - 18142, is an unsecured security and Annette has no problem securing this security, if you
continue to violate my rights and to interfere with something that has nothing to do with you. You have 10
days for the receipt of this Notice to provide the requests for admissions, from you William.


Pursuant to:
Leviticus 25:23 [King James Version 1611] "The land shall not be sold for ever: for the land is
mine, for ye were strangers and sojourners with me."


Luke 11 :46 "And he said, Woe unto you also, ye lawyers! for ye lade men with burdens
grievous to be bqrne, and ye yourselves touch not the burdens with one of your fingers."


Luke 11 :52 "Woe unto you, lawyers! for ye have taken away the key of knowledge: ye entered
not in yourselves, and them that were entering in ye hindered."


The Ninth Commandment: "Thou shalt not bear false witness against thy neighbour."


Now the beneficiary to the trust, a private woman; now makes it known to all interested parties:


Whereas "This Constitution, and the Laws of the United States which shall be made in
Pursuance thereof; and all Treaties made, or which shall be made, under the Authority of the
United States, shall be the supreme Law of the Land; and the Judges in every State shall be
bound thereby, any Thing in the Constitution or Laws of any state to the Contrary
notwithstanding. [Article VI section 2]
Whereas, Article 1 section 9 clause 8 forbids, "No Title of Nobility shall be granted by the United
States:
And no Person holding any Office of Profit or Trust under them, shall, without the Consent of
the Congress, accept of any present, Emolument, Office, or Title, of any kind whatever, from
any King, Prince, or foreign State.", and·,




Whereas Article 1 Section 10 Clause 1 forbids, "No State shall enter any Treaty, Alliance,
or Confederation; grant Letters of Marque and Reprisal; coin Money; emit Bills of Credit; make
any Thing but gold and silver Coin a Tender in Payment of Debts; pass any Bill of Attainder, ex post
facto Law, or Law impairing the Obligation of Contracts, or grant any Title of Nobility.";


Whereas Esquire is a title of nobility granted by a foreign State, and; Amendment XI: "The Judicial
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power of the United States shall not be construed to extend to any suit in law or equity, commenced or
prosecuted against one of the United States by Citizens of another State, or by Citizens or Subjects of
any Foreign State.
Whereas the Judiciary Act of 1789 created the attorney-general but not the STATE BAR card carrying
attorney, Esquire.


Hey Meyer, William H, Heirs and assigns., all that being said, before I go any further with you have
and must provide, for it appears you are out of you scope of authority to deal or even talk to the
consumer, beings you are not included in the initial issue. But if you insist on being a part of this,
you MUST provide:




Interrogatories:
1. Meyer, William.H, and Heirs or assigns what act of legislation granted the title or created the public
office of Esquire?
2. Meyer, William.H ,and Heirs or assigns If no such legislation exists, by what lawful authority does one
act?
3. Meyer, William H, and Heirs or assigns., is one communicating about a debt in a species other than
what
   has been legislated?
4. Meyer, William.H., and Heirs or assigns what legislation granted the Supreme Court
licensing/certification power?
5. Meyer William.H, and Heirs or assigns
., Who Has Authority to Hire the Corporate BAR Attorney?


Request for admissions:

    1.   Meyer, William.H ., and Heirs or assigns no act of legislation has created the authority for an
          Esquire to operate
  business in any State. Yea or Ney?
2. Meyer,William.H., and Heirs or assigns. There is no congressional consent for the creation of the BAR
member attorney.
   Yea or Ney
3. Meyer, William.H, and Heirs or assigns. The Supreme Court has no legislative, executive nor judicial
authority to
   license or certify professions. True or False:
4. Meyer, William.H., and Heirs or assigns. Supreme Court certificate given to BAR attorneys is not a
license.
   True or False, if true provide copy of the license
5. Meyer, William.Hand Heirs or assigns. One has no "Power of attorney", meaning a writing that uses
the term
   "power of attorney" and grants authority to an agent to act in the place of the principal.
   Do you have such power of attorney to act on behalf of the principal? Provide a copy of such
6. Meyer, William.H.,Only the "governing authority", the board of directors, at a noticed meeting for a
corporation
  or business entity may hire counsel on behalf of the same. Meyer, William.H what governing authority
   hired you?
7. Meyer, William.H.,I see no evidence that you are not attempting to administer my property without right,

without
  out first-hand knowledge or subject matter jurisdiction or standing,
 8. Meyer, William.H.,I see no evidence that you are impersonating a State Officer,
 9. Meyer, William.H.,I see no evidence that you have standing in a court of law-Not color of law
10. Meyer, William.H.,I see no evidence of any contract with your company,
11. Meyer, William.H.,I see no evidence that you are indemnified to bring damages on the man (by
violating my rights).
12. Meyer, William.H.,I see no evidence that you are not simulating a legal process,
13. Meyer,William.H.,I see no evidence that you completed your due diligence for process of service.
   You have participated in Identity theft and Mail Fraud.




Notice of Fair Debt Collections Practices Act (FDCPA; 15 USC 1692 et seq)
Violation(s):


15 U.S. Code§ 1692c - Communication in connection with debt collection ... without the prior
consent of the consumer given directly to the debt collector or the express permission of a
court of competent jurisdiction. $1,000 USO per "attorney"
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15 U.S. Code § 1692e the false representation or implication that the debt collector is vouched
for, bonded by, or affiliated with the United States or any State, including the use of any badge,
uniform, or facsimile thereof ... The false representation or implication that any individual is an
attorney or that any communication is from an attorney. $1,000 USO per "attorney"


15 U.S. Code § 1692f A debt collector may not use unfair or unconscionable means to collect or
attempt to collect any debt. $1,000 USO per "attorney"


15 U.S. Code § 16929 The failure of a consumer to dispute the validity of a debt under this
section may not be construed by any court as an admission of liability by the consumer. $1,000
USD per "attorney"


15 U.S. Code 1692j - (a) It is unlawful to design, compile, and furnish any form knowing that such form would
be used to create the false belief in a consumer that a person other than the creditor of such consumer is participating
in the collection ofor in an attempt to collect aJ!ltl!Lsuch consumer allegedly owes such..£!!,.!lli2!', when in fact such
person is not so participating.
(b) Any person who violates this section shall be liable to the same extent and in the same manner as a flEll collector
is liable under section 1692k of this title for failure to comply with a provision of this subchapter.




Other violations:


18 U.S. Code § 914 - False personation; Creditors of the United States
18 USC chapter 41: EXTORTION AND THREATS - §876. Mailing threatening communications (b)
Whoever, with intent lo extort from any person any money or other thing of value, so deposits, or causes lo be
delivered, as aforesaid, any communication containing any threat lo any threat to injure (TAKE PROPERTY) lhe
person of the addressee or of another, shall be lined under this title or imprisoned not more than twenty years, or
both.
(d) Whoever, with intent to extort from any person any money or other thing of value, knowingly so deposits or
causes to be delivered, as aforesaid, any communication, with or without a name or designating mark subscribed
thereto, addressed to any other person and containing any threat to injure the property or reputation of the addressee
or of another, or the reputation of a deceased person, or any threat to accuse the addressee or any other person of a
crime, shall be fined under this title or imprisoned not more than two years, or both.



18 U.S. Code § 1341 - Frauds and swindles: Whoever, having devised or intending to devise any scheme or
ai1ifice to defraud, or for obtaining money or property by means of false or fraudulent pretenses, representations, or
promises, or to sell, dispose of, loan, exchange, alter, give away, distribute, supply, or furnish or procure for
unlawful use any counterfeit or spurious coin, obligation, security, or other article, or anything represented to be or
intimated or held out to be such counterfeit or spurious article, for the




purpose of executing such scheme or artifice or attempting so to do, places in any post office or authorized
depository for mail matter, any matter or thing whatever to be sent or delivered by the Postal Service, or deposits or
causes to be deposited any matter or thing whatever to be sent or delivered by any private or commercial interstate
carrier, or takes or receives therefrom, any such matter or thing, or knowingly causes to be delivered by mail or such
carrier according to the direction thereon, or at the place at which it is directed to be delivered by the person to
whom it is addressed, any such matter or thing, shall be fined tmder this title or imprisoned not more than 20 years,
or both.




Resolution:
Provide the request for admissions 10 days for receipt if not provided, you are to Cease and desist in
protecting the wrongs addressed, follow the law as ii is written
And I will not prosecute Southlaw P.C.




                                                                       Sincerely,




                                                              ANNETTE EVON JETER SIPPLE-for
                                                              Annette Evon Jeter:Sipple, beneficiary
                                                              This Ninth day of the Sixth month,
                                                               year of our lord two thousand twenty-two
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Cc:


Administrative office of Courts Kansas
Attorney-general of Kansas State
Department of revenue Director


William H, Meyer #18142
Southlaw P.C. 13160 foster
Overland Park KS 66213-2660
(913) 773-7600
